 1   Law Offices of Travis A. Gagnier, Inc., P.S.                   Judge Mary Jo Heston
     33507 Ninth Avenue South, Bldg. F                              CHAPTER 13
 2   P.O. Box 3949                                                  Hearing Date: December 6, 2018
     Federal Way, WA 98063-3949                                     Hearing Time: 1:00 p.m.
 3   253-941-0234; gagnierecf@bestbk.com
 4

 5
                               UNITED STATES BANKRUPTCY COURT
 6                         WESTERN DISTRICT OF WASHINGTON AT TACOMA
 7
     IN RE:                                              No. 18-43364
 8
      GREINER, James Michael,                            DEBTOR’S REPLY to RESPONSE by
                                                         WILMINGTON SAVINGS FUND and
 9
                 Debtor.                                 OBJECTION TO WILMINGTON
                                                         SAVINGS FUND’S REQUEST FOR
10                                                       TELEPHONIC ATTENDANCE
11
              COMES NOW, the Debtor, by and through his attorney, Travis A. Gagnier, and objects
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     to the request for telephonic attendance by the Wilmington Savings Fund (“Creditor”). LRB
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     9013(e)(1) requires attendance at scheduled hearings. General rules allow a party to request to
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     appear via telephone, but have generally been applied judiciously to situations involving
15
     conflicts with other hearings in the district or hardship of some kind. There is no exigency or
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     circumstance here that requires the telephonic approval. This is not the debtor’s motion, but was
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     affirmatively filed by the creditor. The result of the hearing is crucial to the success or failure of
18
     the plan.
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              The Creditor has been aware of Debtor’s response to the filed motion for relief since
20
     November 6, 2018. Creditor has had ample time to either contact counsel to resolve and/or
21
     arrange for travel. The matter at issue is important as it will determine whether the Debtor is
22
     able to retain his home or not.
23
              Another issue is that the Creditor has filed multiple filings with incorrect hearing
24
     information. The filed motion for relief had a notice stating that the hearing is at 1:00 p.m. and
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     in the same notice references 9:30 a.m. The letter that we are objecting to has the motion for
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                                                                            LAW OFFICES OF TRAVIS
                                                                                GAGNIER, INC., P.S.
27
     DEBTOR’S REPLY AND OBJECTION                                         33507 Ninth Avenue South, Bldg. F
     TO TELEPHONIC APPEARANCE - 1                                                  P.O. Box 3949
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                                                                            Federal Way, WA 98063-3949
                                                                        253-941-0234; gagnierecf@bestbk.com

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 1   relief set for 1:30 p.m. and the objection to confirmation set for 1:00 p.m. Errors occur, but when
 2   the errors are multiple and involved notice, the party giving the notices should be required to re-
 3   notice and re-set the improperly noticed hearing
 4          Allowing routine appearance by counsel telephonically is burdensome for the court and

 5   appearing counsel. It shifts the equities and relative costs in each such matter so set. Counsel for

 6   Debtor must travel to and from the courthouse in Tacoma. That is usually at least an hour total

 7   for travel. This travel time is added to the time away from the office when counsel is unable to

 8   work on other cases or matters while waiting for the matter to be called on the Court’s calendar.

 9   Thus, counsel for Debtor will be exclusively engaged for that matter for no less than 2 hours

10   (presuming there are no other matters with which to divide the total time on the same calendar).

11   In the meantime, counsel appearing on the telephone can be working in his or her office with the

12   hearing on speaker working on other matters and only exclusively engaging in the matter for the

13   few minutes of the actual hearing.

14          Not only is this unfair to the party, in this case the Debtor, appearing in person by

15   imposing more costs and fees by a significant degree on the personally appearing party, but it

16   also discourages the settlement of routine matters by imposing essentially no cost on the party

17   appearing via telephone to have the hearing. After all, the party appearing on the phone is only

18   dedicating 10 or 15 minutes to the matter—about the same time it may take to get the matter

19   resolved without a hearing.

20          The alternative of allowing all parties to appear via telephone is neither desirable nor

21   anticipated by the current rules. Firstly, such hearing would be technologically difficult and

22   inconvenient for the Court, not to mention the awkwardness of having one party in person and

23   another on a speaker phone. More importantly, however, is that by reducing the costs to the

24   parties of obtaining Court resolution of every matter, the Court’s contested calendars would be

25   much longer. The longstanding system of requiring parties to appear and argue their respective

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 1   position ensures that most routine matters, indeed most matters in total, get resolved prior to
 2   having a contested hearing before a court.
 3             Telephonic appearances should be the exception, not the rule, available where there is a
 4   bona fide conflict with other court proceedings or where there is a demonstrable hardship (not

 5   caused by the requesting party or its choice of counsel) that justifies telephonic appearance.

 6             For the reasons stated above, the debtor asks that Creditor’s request to appear

 7   telephonically at the hearing on Creditor’s motion for relief and objection to confirmation be

 8   denied. Debtor has not objection to holding the hearing on Creditor’s objection to

 9   confirmation since confirmation is otherwise on for this date, but Creditor should be required

10   to properly re-notice its Motion of Relief from Stay given the multiple errors in prior

11   pleadings.

12             Respectfully submitted this 3rd day of December 2018.

13
                                                                  /s/ Travis A. Gagnier
14                                                                Travis A. Gagnier, #26379
                                                                  Attorney for Debtor
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16                                                        PROOF OF SERVICE

17             I declare under penalty of perjury under the laws of the State of Washington that I filed the original of the foregoing

18   with the United States Bankruptcy Court in Tacoma and served a true copy thereof to:

               Michael G. Malaier                       Wilmington Savings Fund
19             Chapter 13 Trustee                       c/o Law Offices of Michelle Ghidotti

20   via ECF, and to:

21             Debtor

22   via U.S. first-class mail, postage pre-paid, on the 3rd day of December 2018.

23
                                                                  /s/ Jennifer Roberts
24                                                                Jennifer Roberts
                                                                  Sr. Paralegal
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